 1    DIEMER & WEI, LLP
      Kathryn S. Diemer (#133977)
 2    55 S Market Street, Suite 1420
      San Jose, CA 95113
 3
      Telephone: 408-971-6270
 4    Facsimile: 408-971-6271
      Email: kdiemer@diemerwei.com
 5
      WILLKIE FARR & GALLAGHER LLP
 6    Matthew A. Feldman (pro hac vice)
      Joseph G. Minias (pro hac vice)
 7
      Benjamin P. McCallen (pro hac vice)
 8    Daniel I. Forman (pro hac vice)
      787 Seventh Avenue
 9    New York, NY 10019-6099
      Telephone: (212) 728-8000
10    Facsimile: (212) 728-8111
11    Email: mfeldman@willkie.com
             jminias@willkie.com
12           bmccallen@willkie.com
             dforman@willkie.com
13
      Counsel for Ad Hoc Group of Subrogation Claim Holders
14

15                                 UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF CALIFORNIA
16                                      SAN FRANCISCO DIVISION

17   In re:
18
     PG&E CORPORATION,
19

20            -and-                                  Chapter 11
                                                     Bankr. Case No. 19-30088 (DM)
21   PACIFIC GAS AND ELECTRIC                        (Jointly Administered)
     COMPANY,
22                   Debtors.                        NOTICE OF FILING OF INSURER
23                                                   ADOPTION AGREEMENT REGARDING
     ☐ Affects PG&E Corporation                      MUTUAL MADE WHOLE RELEASE
24   ☐ Affects Pacific Gas and Electric
25   Company
      Affects both Debtors
26
     * All papers shall be filed in the lead case,
27   No. 19-30088 (DM)
28



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                                                      3
 1             The Ad Hoc Group of Subrogation Claim Holders (the “Ad Hoc Subrogation Group”) in the
 2       above-captioned chapter 11 cases of PG&E Corporation and Pacific Gas and Electric Company

 3       (collectively, “Debtors”), by its attorneys Willkie Farr & Gallagher LLP and Diemer & Wei, LLP,
 4       hereby submits this notice (the “Notice”) pursuant to the requirements of the Mutual Made Whole
 5       Release. See Debtors’ and Shareholder Proponents’ Joint Chapter 11 Plan of Reorganization Dated

 6       May 22, 2020 [Docket No. 7521] (the “Plan”) at Exhibit C.1
 7                                                       NOTICE
 8             WHEREAS paragraph I of the Mutual Made Whole Release provides, in part, that “[t]his

 9       Mutual Release is conditioned upon the Insurer, or the Insurer’s successor on behalf of the Insurer,

10       filing in the Chapter 11 case the Insurer Adoption Agreement, which states the Insurer releases, as to

11       the Made Whole Doctrine only, each Claimant who signs and agrees to the terms of this Mutual

12       Release.”

13             NOW, THEREFORE, the Ad Hoc Subrogation Group attaches as Exhibit A to this Notice the

14       Insurer Adoption Agreement with all Insurers’ signatures collected to date.2

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             Capitalized terms used but not defined shall have the meanings ascribed in the Plan.
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27           In the event that more Insurers sign the Insurer Adoption Agreement, the Ad Hoc Subrogation Group will file
     subsequent notices in these bankruptcy cases.
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                                                             1
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                                                        3
 1   Dated: June 22, 2020

 2

 3
                                   WILLKIE FARR & GALLAGHER LLP
 4
                                   /s/ Matthew A. Feldman
 5                                 Matthew A. Feldman (pro hac vice)
 6                                 Joseph G. Minias (pro hac vice)
                                   Benjamin P. McCallen (pro hac vice)
 7                                 Daniel I. Forman (pro hac vice)
                                   787 Seventh Avenue
 8                                 New York, NY 10019-6099
                                   Telephone: (212) 728-8000
 9
                                   Facsimile: (212) 728-8111
10                                 Email: mfeldman@willkie.com
                                            jminias@willkie.com
11                                          bmccallen@willkie.com
                                            dforman@willkie.com
12
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                                   San Jose, CA 95113
15                                 Telephone: (408) 971-6270
                                   Facsimile: (408) 971-6271
16                                 Email: kdiemer@diemerwei.com
17
                                   Counsel for Ad Hoc Group of Subrogation Claim Holders
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